          Case 3:20-cv-09256-VC Document 13 Filed 03/12/21 Page 1 of 1




                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  ADAM LUCAS O'DELL,                                 Case No. 20-cv-09256-VC
                 Plaintiff,
                                                     ORDER DISMISSING CASE
          v.
                                                     Re: Dkt. No. 12
  ALAMEDA COUNTY SHERIFF'S
  DEPARTMENT, et al.,
                 Defendants.




       O’Dell’s second amended complaint is not understandable and thus dismissed as

frivolous under 28 U.S.C. § 1915(e). In the alternative, for many of the reasons described by

Judge Hixson’s prior order (Docket No. 5), O’Dell’s complaint is dismissed under 28 U.S.C. §

1915(e) for failure to state a claim because it fails to identify or adequately describe any claims

O’Dell seeks to bring. Dismissal is with prejudice since O’Dell was previously instructed on how

to fix his complaint but failed to do so, and since the Court cannot conceive of a way in which it

could be amended to successfully state a claim.



       IT IS SO ORDERED.

Dated: March 12, 2021

                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
